                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DMSION

                                    No. 5:93-CR-123-03-F


UNITED STATES OF AMERICA                       )
                                               )
              v.                               )
                                               )
JOHN LEE BOYD, JR.,                            )
           Defendant.                          )



              The defendant's June 16, 2010, Motion to Enforce the Plea Agreement [DE-84] is

DENIED as untimely - Boyd was sentenced in 1994 - and as lacking merit - the legal basis on

which his argument relies was not recognized for federal sentencing purposes until January

2005, in United States v. Booker, 543 U.S. 220 (2005). Boyd was sentenced consistently with

the advice he was given at his arraignment, and in accordance with the then-governing law.

              SO ORDERED.

              This 30th day of June, 2010.




                                          ESC. FOX
                                       enior United States District Judge




       Case 5:93-cr-00123-BO        Document 85       Filed 06/30/10        Page 1 of 1
